                                UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF ALASKA

WILLIAM TATE, et al.,
          Plaintiffs,
                                               Case Number 3:14-cv-00242-JWS
v.

UNITED STATES OF AMERICA,                      AMENDED
          Defendant.                           JUDGMENT IN A CIVIL CASE


   JURY VERDICT. This action came before the court for a trial by
jury. The issues have been tried and the jury has rendered its
verdict.

 X   DECISION BY COURT. This action came to trial or hearing
before the Court.   The issues have been tried or heard and a
decision has been rendered.

            IT IS ORDERED AND ADJUDGED:

        THAT Plaintiffs, William Tate and Susie Sours as Co-
Guardians of Cynthia Tate, recover of defendant, United States of
America, the sum of $3,046,092.32; that William Tate and Susie
Sours as Co-Guardians of the first minor M.T. recover $50,000, that
William Tate and Susie Sours as Co-Guardians of the minor T.T.
recover $50,000; that William Tate and Susie Sours as Co-Guardians
of the second minor identified as M.T. recover $50,000; that
William Tate individually recover $50,000; and that Martha Hacker
recover $50,000 for a total judgment of $3,296,092.32 with
postjudgment interest thereon at the rate of 1.18% as provided by
law.

APPROVED:

 S/JOHN W. SEDWICK
 United States District Judge

 Date: June 20, 2017

                                                   LESLEY K. ALLEN
                                                    Clerk of Court

[Jmt2 - Basic - rev. 1-13-16}




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